
401 U.S. 480 (1971)
GROVE PRESS, INC., ET AL.
v.
MARYLAND STATE BOARD OF CENSORS.
No. 63.
Supreme Court of United States.
Argued November 10, 1970
Decided March 8, 1971
APPEAL FROM THE COURT OF APPEALS OF MARYLAND.
Edward de Grazia argued the cause for appellants. With him on the brief were Nathan Lewin, Arnold M. Weiner, and Alan M. Dershowitz.
Francis B. Burch, Attorney General of Maryland, argued the cause for appellee. With him on the brief was Thomas N. Biddison, Jr., Assistant Attorney General.
Briefs of amici curiae urging reversal were filed by Felix J. Bilgrey for the International Film Importers &amp; Distributors of America, Inc.; by Louis Nizer for the Motion Picture Association of America, Inc.; by Leon Friedman and Lester Pollack for the National Association of Theater Owners, Inc., and by Stanley Fleishman and Sam Rosenwein for the Adult Film Association of America, Inc.
Francis J. Rudolph filed a brief for Morality in Media, Inc., as amicus curiae, urging affirmance.
PER CURIAM.
The judgment is affirmed by an equally divided Court.
MR. JUSTICE DOUGLAS took no part in the consideration or decision of this case.
